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From: Vinith errabelli

To: GREP Ouniversityoffarminaton.edu
Subject: refferals

Date: Tuesday, September 25, 2018 1:45:58 PM

Attachments: Refferals by Avinash Thakkallapally.docx

 

hello a”. please find the attached document.

Regards
Rockstar

 
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